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IN THE UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF
COLORADO

Civil Action No. 1:19-cv-02133-DDD-SKC

JOBADIAH WEEKS, an individual and Colorado citizen,

Plaintiff,
vs.

STEVEN M. SNYDER, an individual and Florida citizen, and AFS-TT, LLC, a Florida
limited liability company,

Defendants.

 

AFFIDAVIT OF JOBADIAH SINCLAIR WEEKS

 

I, Jobadiah Sinclair Weeks, being over 18 years of age and of sound mind, affirm and state

as follows:

1. I sign this affidavit under oath and have personal knowledge of the information set
forth herein.

2, I am the named plaintiff in the litigation styled Weeks v. Snyder et. al., case number

19-cv-02133-DDD-SKC.

3. I write this Affidavit in support of Plaintiff’s Motion for Entry of Default Judgment
(the “Motion”). I have read and reviewed the Motion and the supporting Affidavit of Nadav
Aschner, counsel for Plaintiff. The Motion and allegations prepared by Mr. Aschner are true and
accurate to the best of my knowledge.

4. I have known Defendant Steven M. Snyder for approximately eight years.

De Mr. Snyder and I entered into an agreement in 2017, whereby: (1) I would provide
funds to Mr. Snyder for the purchase of softgel encapsulation equipment and other business related
expenditures; (11) we would incorporate an entity called Great Soft Gels Inc. in Nevada to own the
equipment; (iii) the equipment was to be shipped to Texas; and (iv) Mr. Snyder would periodically
travel to Texas to operate the machine as part of the venture (collectively, the “Business
Agreement’). As part of the Business Agreement, Mr. Snyder was to remit 90% of the profits from
the Great Soft Gels Inc. business venture to me until I was repaid in full for the purchase price of
the equipment and materials, after which he and I would split future profits 50/50.
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6. Mr. Snyder and I ordered a softgel encapsulation machine (the “Machinery”) from
Wuxi Jangli Machinery Co. (“Wuxi”) for our softgel project. Starting in in late October 2017, I
made payments totaling $178,200.00 to Wuxi. The Machinery was to be delivered to Mr. Snyder
in Florida.

7 In March 2018, Mr. Snyder contacted me to inform me that Customs and Border
Patrol (“CBP”) seized the Machinery, and demanded an additional $13,645.00 to release the
Machinery. I sent this money to Mr. Snyder, who arranged for the release of the Machinery.

8. AFS-TT, LLC is an LLC that Mr. Snyder owns, which took possession and
ownership of the Machine.

9. Between April and May 2018, I paid $66,000.00 for additional equipment to
support the Machinery, and $95,910.63 for raw materials for use in the business venture, and had
them shipped to Mr. Snyder in Florida.

10. Between August 2018 and December 2018, I sent additional payments to Mr.
Snyder totaling $27,040.83 for business related expenditures, including rent, the purchase of a
work truck, vacuum pump, utilities, a five-ton AC Unit, and raw materials. In total I sent Mr.
Snyder, or otherwise paid $380,796.46 towards the Machinery and business venture.

11. Starting in March of 2019, Mr. Snyder became evasive and ceased responding to
me or my counsel.

12. When it became clear that no resolution was possible, I engaged my counsel to
initiate litigation to recover the money that I had provided to Mr. Snyder.

13. As of the date of this Affidavit, more than two years have passed since Mr. Snyder
and the AFS-TT, LLC took possession of the Machinery. Mr. Snyder has not returned any of the
funds I provided, and I have received no profit.

14. As of the date of this Affidavit, in addition to my legal fees incurred in litigating
this matter, I have spent $776.55 in costs related to the Business Agreement and this litigation,
including costs of incorporating Great Soft Gels Inc. in Nevada, service of process fees, and
mailing and postage costs.

15. In total, I am seeking a judgment of $381,573.01, including damages and costs I
incurred.

Further, Affiant sayeth not.
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Dated this 31‘' day of December, 2020. | (
Ag jd. \,\ Se

Jobadiah Sinclair Weeks

 

Subscribed and affirmed before me in the county of Jefferson, State of Colorado, this 31‘ day of

December, 2020, by Jobadiah Sinclair Weeks.

 

 

 

 

 

 

 

Cc. ALEXIS CHRISTINE CORONA
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Notary’s Signature MY COMMISSION EXPIRES JAN 28, 2023
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Commission Ex tiation Date SEAL
